Case 8:12-CV-00215-FI\/|O-KES Document 260

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Consideration of fee petitions submitted by counsel representing a plaintiff

= class requires the utmostjudicial scrutiny and discretion Here. class counsel seeks

_ an excessive windfall to the detriment of the class. The requested multiplier is far

too high. Not chagrined by such a large multiplier request, class counsel even

exceeds the benchmark set by the Ninth Circuit. Careful scrutiny is required with

regard to the l`ee petition. lt is at this stage that counsel for the class is transformed

l`rom the champion of the class to a competing claimant against the fund intended

c to recompense the wrong suffered by the class. REPOR'r or me Ttutu) Cmcuir TAsl»;

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FORCE. Court A\t'ardedAtromq}' Fces. 108 F.R.D. 237. 251 (Oct. 8. 1985)
(hereinal`ter "Taslc Force Repor!").

ln essence. the district court assumes the fiduciary role l`or the class that its
counsel filed during the litigation. but vacated upon submission of the fee petition.
Ske!wn v. Gen. .1lotors C`orp.. 860 F.2d 250. 253 (7th Cir. 1988). cer!. denied, 493
U.S. 810 (1989); Cin ofDerroi! v. Gr:'nnell Corp.. 560 F.2d 1093, 1099 (2d Cir.
l977) (“Grimiell ll"); Tas/t Force Reporl at 255. Because objections by class
members are rare and defendants, having made their contribution to the
settlement. are uninterested in the distribution. the district court must act with
moderation and ajealous regard for the rights ol` the class members in determining
a reasonable attomey fee. See, e.g.. Rotlgfarb v. Hambrechr. 649 F. Supp. 183. 237
(N.D. Cal. 1986) (citing City ofl)etroi! v. Grr'nne!l Corp.. 495 F.2d 448. 469 (2d
Cir. 1974) (“Grimzcl/ I"))Z Deborah A. Klar, Attornqvfs Fees in Securi!ies Class
.»lctr`ons: Recem Developmems Under the Common szd Docrrr'nc. SECUR|T|ES
Ll'l`|GA'l`lON (1991); Thsk l"orcc chor! at 251; In re Eqm'r_v Funding Corp. Sec.
I.itig.. 438 F. Supp. 1303. 1325 (C.D. Cal. 1977) (not only must the courts avoid
awarding windfall l`ees. but they must avoid every appearance of having done so).
l. The need to cross-check a contingent fee against counsel's lodestar
is particularly important in a “mega-l'und" ease such as the one at

bar.

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The fee sought by lead counsel far exceeds what is customarily awarded
when applying the `°percentage of fund" method in cases of this magnitude.

2. lt is not an abuse of discretion for this Court to apply the lodestar

method simply because class counsel prefer that the Court follow the

percentage ol` recovery approaeh.

The only fee award that could be considered reasonable under the
circumstances is one that compensates class counsel for work that benefited the
class without negating such benetit in the process or creating a windfall for
counsel. Derroit \'. Grimre!l Cr)rp, 560 F.2d 1093. 1098 (2nd Cir. 1977) ("Courts
and commentators have repeatedly wamed that too littlejudicial regard for the
interests of the benefited class can easily result in lesser recoveries for intended
beneficiaries because of massive fees for enterprising attomeys."); in re Supen'or
Beverage/Glass Conrainer, 133 F.R.D. 119. 126 (N.D. lll. 1990) (in no case
should a fee award consume an untoward portion ol`the class recovery; what is
let`t for the class after fees have been awarded is always of paramount
consideration) ("Supert`or Bet'erage"); see also Grmtin t'. lml. House of Pancakes.
5 13 F..°£d 114. 127 (Sth Cir. 1975), cerr. denied, 423 U.S. 864 (1975) (the primary
concern is to ensure that such awards reasonably compensate the attorneys for

their services. and are not excessive. arbitrary or detrimental to the class).

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ll 3. Even if the Court employs the percentage of recovery method to
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l compute fees. it should cross check the reasonableness of such an

award under the lodestar/multiplier method.
To avoid a several million-dollar windfall to counsel and confirm the overall
' reasonableness ofany percentage of recovery award, the court must necessarily
employ thc lodestar approach to detemiine attomey fees. Indeed, “District Courts
often use the lodestar method as a cross-check on the percentage method in order

to ensure a fair and reasonable result. See, c.g.. V):caino v. .1Iicr0s0ji Cor/)., 142 F.

l Supp. 2d 1299. 1301 (W.D. Wash. 2001 ). Scc also Coordinated Prem`ul. 109 F.3d

at 607; l"iscl)cl v. Equi!ab!e Lg'fe Assurance Socr'ety. 307 F.3d 997. 1007 (9th Cir.
2002). ln order to ensure that all necessary data is before the court. attome_vs are

generally required to submit detailed affidavits which itemize and explain their fee

` 1 claims. Also. many courts have required that an evidentiary hearing be held at

which each claimant is subject to cross-examination Grum°n v. lml. llouse of
Pancakes, 513 F.2d 114. 127 (Sth Cir. 1975). This Court should apply such

scrutiny to this case in order to ensure that the compensation of damaged class

` |' members is not improperly reduced by an unreasonable windfall for class counsel.

Attn.t;n.e;;s_’, fees m mm - Class counsel in this case anticipate applying for

fees in the proximity of 30%. Attorneys fees in this type of ease is not intended to

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be a boon to class counsel. The class members are the ones who are to benefit
from a class action.

Although courts generally apply a percentage method in class action
settlements, many courts have suggested that the commonly-used 25% fee is only a
‘°benchmark" for an award of fees in class action cases. since in some events such
is not appropriate as it would amount to a windfall to counsel. Many courts have
now become accustomed to using a sliding scale with the percentage decreasing as
the magnitude of the fund inereases.

Ih£_Man_Lm]__Q[_C_Qmplg_\_Lj_tigg_tig_n, 3"‘, speaks to this issue:

An award of attomeys` fees in a common fund case is committed to the
sound discretion of the trial court, considering the unique factors in the case. The
court awarding such a fee should articulate reasons for the selection of the given
percentage sufficient to enable a reviewing court to determine whether the
percentage selected is reasonable. 'I`he factors used in making the award will vary.
but may include one or more ofthe following:

0 the size of the fund created and the number of`persons bcnefitcd;

0 the presence or absence of substantial objections by members of the

class to the settlement terms and/or fees requested by counsel;

0 the skill and efficiency of the attomeys involved;

0 the complexity and duration of the litigation;

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0 the risk of non-payment
0 the amount of time devoted to the ease by plaintiffs` counsel; and
0 the awards in similar cases.
While the trend has been toward the percentage method. courts continue to award

attomeys' fees in some common fund cases based on the lodestar or a combination

ofthe two methods UMLthstlssjaLmay_b.e_m.are_annmpcim_than_th_¢
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with percentage fees. an award of attomeys` fees under the lodestar method should
fairly compensate the attomey for the reasonable value of the services beneficially
rendered. based on the circumstances of the particular case. (emphasis added)
Manua| for Complex Litigation. 3"’. pp. 197-201. §24.121 & §24.122.

Thus. there is sound basis for awarding class counsels' fee based purely on
counsels` lodestar. Regardless. should the Court be inclined to award fees based
on the percentage approach. counsel should at the least be required to fully
substantiate their fees by reference to the above factors listed in the Manual for
Complex Litigation.

Also on point is In re.' 1\'ASDAQ11!arket- .-\lakers /1mr`frust Litigation.

U.S.D.C.. So. Dist. NY. 187 F.R.D. 465; 1998 U.S. Dist. l.l£XlS 17557; 1998-2

' Trade Cas. (CCH) P72. 337 (Decided 11/9/98) - ln this landmark case. U.S.

District Judge Robert W. S\veet did an exhaustive analysis of attomcys' fees in

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l mega-fund cases. The Court reasoned that the beginning point in any class action
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settlement is assessing fees ti'om a common fund is to determine the true value of
the settlement. and then it stated, “25% . . . is not the benchmark for circumstances.
the percentage will decrease as the size of the fund increases." NASDAQ at p. 21.

'1iie.»\".»fSDAQ Court went on to state, "where the fund is unusually large.

t some Courts have used a `sliding scale. with the percentage decreasing as the

magnitude of the fund increased . . . ‘ citing Ma_nuaL[Qr_C_Qmp|_ex_Liljggngn 3"’.

§24.12 at 189, Fed. .lud. Ctr. (1995) (citations omitted); See. e.g., Branch v. FDIC.
1998 U.S. Dist. LEXIS 7815, 1998 WL 151249 (March 23. 1998) (applying 14%
to 522 million; 12% of the next 510 million, and 5% over and above 532 million)."

The NASDAQ Court continued, "this sliding scale is explained in part by

il economics of scale . . . it is generally not 150 times more difficult to prepare. try

and settle a 5150 million case than it is to try a Sl million case. As noted in In re:
Firsr Fide!i{i'$¢’cririri¢'s Litigation. 750 F. Supp. 160 (I).N.J. 1990). ‘there is

considerable merit to reducing the percentage as the size of the fund increases ln

many instances. the increase is merely a factor of the size of the class and has no

direct relationship to the efforts of`counsel, ‘ ld.. at 164 n. 1

This procedure was adopted in the Third Circuit in lu_z_‘e.‘_£mdcmig[

wyman gamma damage sam mgm L.¢'¢;mggn dmi A¢¢¢'Qm; cl at u.s.

l Ct. App.. 3"' Cir.. 148 F. 3d 283: 1998 U.S. App. LEX|S 17057; 41 Fed. R. Scrv. 3d

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(Callaghan) 596 (1998); Cert. Dcn. 1/1999. where the court. in a mega-fund case
awarded a fee of 6.7%.

'111e fee request by class counsel in the present case represents an
extraordinary windfall to class eounsel. The Court is urged to scrutini?e the fee
application of class counsel and. applying sound judgment. disallow such a large
fee award and instead carve out a substantial portion of the fee request and add it

to the benefits accruing to the class.

Respect fully submitted:

.lune 30. 2016 /s/

Steven Franltlyn 1~1elfand

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